     Case 3:18-cv-00711-AWT Document 167 Filed 11/30/21 Page 1 of 2



                   UNITED STATES DISTRICT COURT
                     DISTRICT OF CONNECTICUT

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MARTIN J. WALSH, SECRETARY OF    :
LABOR, UNITED STATES DEPARTMENT  :
OF LABOR,                        :
                                 :
          Plaintiff,             :
                                 :
v.                               :      Civil No. 3:18-cv-711 (AWT)
                                 :
CARE AT HOME, LLC, DANIEL KARP, :
and SUZANNE KARP,                :
                                 :
          Defendants.            :
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                            ORDER RE FINE

     On September 9, 2021, the court entered the Order Finding

the Defendants in Contempt (ECF No. 149). The order stated that

“[s]tarting September 10, 2021, these defendants shall pay a

daily fine at the rate of $100 per business day until they are

no longer in contempt or until further order of the court.” At

the hearing on September 9, 2021, the court indicated that it

was imposing the daily fine in order to motivate the defendants

to comply with the court’s orders before the hearing that was

scheduled for September 17, 2021. Subsequently, the defendants

entered into a consent judgment, which was entered by the court

on September 17, 2021 (ECF No. 155). The hearing scheduled for

September 17, 2021 was cancelled.

     The consent judgment and order requires the defendants to

make the payments of back wages and liquidated damages within


                                  -1-
     Case 3:18-cv-00711-AWT Document 167 Filed 11/30/21 Page 2 of 2



thirty days of the entry of the consent judgment, i.e., by

October 17, 2021. The defendants have failed to do so.

Therefore, the $100 fine per business day will run from October

18, 2021 until the defendants are no longer in contempt or until

further order of the court. The defendants are liable jointly

and severally for the payment of this fine. The court is waiving

the fine for the period during which the defendants were

negotiating the consent judgment and order and for the thirty-

day period they were given under the consent judgment and order

to pay the back wages and liquidated damages.

    It is so ordered.

    Dated this 30th day of November 2021, at Hartford,

Connecticut.



                                                  /s/AWT
                                             Alvin W. Thompson
                                        United States District Judge




                                  -2-
